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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

Ronaldo Ligons, et al.,                            Court File No. 15-CV-2210 (PJS/BRT)
       Plaintiffs,

                                                      DEFENDANTS’ RESPONSE TO
vs.                                                  PLAINTIFFS’ MOTION FOR AN
                                                            EXTENSION OF TIME

Minnesota Department of Corrections, et al.,
       Defendants.



       Defendants take no position on Plaintiffs’ motion for an extension of time to file a

response (Doc. No. 131). However, if the Court grants Plaintiffs’ requested extension,

Defendants respectfully request that the due date for their reply memorandum in support

of summary judgment and response to Plaintiffs’ motions be extended to April 24, 2017,

and Plaintiffs’ reply memorandum to June 7, 2017. The scheduled hearing date on the

parties’ motions is July 26, 2017. Defendants defer to the Court to determine whether the

hearing date should be moved to accommodate Plaintiffs’ request.

       Defendants make this request because Plaintiffs’ proposed deadlines would allow

them four weeks to respond to Defendants’ motion.           However, the new deadlines

proposed by Plaintiffs do not allow Defendants four weeks to respond to Plaintiffs’

motions.

                                   Signature on page 2
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Dated: April 14, 2017                 OFFICE OF THE ATTORNEY GENERAL
                                      State of Minnesota


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